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 14
 15   Attorneys for Plaintiff
 16                         UNITED STATES DISTRICT COURT
 17                      SOUTHERN DISTRICT OF CALIFORNIA
 18    ASHLEY FRANZ, On Behalf of               Case No.: 14cv2241-L-AGS
       Herself and All Others Similarly
 19    Situated,                                 SECOND AMENDED CLASS
                                                 ACTION COMPLAINT FOR:
 20                 Plaintiff,
                                               1. VIOLATION OF THE UNFAIR
 21          v.                                   COMPETITION LAW, Business and
                                                  Professions Code §17200 et seq.
 22
       BEIERSDORF, INC., a Delaware
 23    corporation,
 24                 Defendant.
 25

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                          SECOND AMENDED CLASS ACTION COMPLAINT
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  1
            Plaintiff Ashley Franz brings this action on behalf of herself and all others
  2
      similarly situated against Defendant Beiersdorf, Inc. and states:
  3
                                     NATURE OF ACTION
  4
            1.     Defendant manufactures, markets, sells and distributes NIVEA Skin
  5
      Firming Hydration Body Lotion with CoQ10 Plus formulated with Co-Enzyme Q10
  6
      and Hydra-IQ (“NIVEA CoQ10 Lotion”).             Defendant launched NIVEA CoQ10
  7
      Lotion in 2010. NIVEA CoQ10 Lotion is sold online and in virtually every major
  8
      food, drug, and mass retail outlet in the country.
  9
            2.     On the front of each and every NIVEA CoQ10 Lotion bottle, where
 10
      consumers cannot miss it, Defendant represents that the Product “improves skin
 11
      firmness within 2 weeks”. 1 Defendant affirmatively represents on every bottle that
 12
      the Product is “proven to firm and tighten skin’s surface in as little as two weeks”
 13
      (collectively, the “skin firming representations”).
 14
            3.     As more fully set forth below, Plaintiff brings this action on behalf of
 15
      herself and other similarly situated California consumers who have purchased
 16
      NIVEA CoQ10 Lotion under the “unlawful” prong of the UCL. Plaintiff seeks to
 17
      halt Defendant’s unlawful sale of an illegal and misbranded drug in violation of
 18
      applicable federal law and regulations and California’s Sherman Act and also seeks
 19
      full restitution of Plaintiff’s and other California consumers’ full purchase price. 2
 20
                                JURISDICTION AND VENUE
 21
            4.     This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2).
 22
      The matter in controversy, exclusive of interest and costs, exceeds the sum or value
 23

 24
      1
        Recently, Defendant changed the front label from “improves skin firmness within
 25   2 weeks” to “improves skin firmness in as little as two weeks.”
      2
        Plaintiff originally pled falsity allegations with regard to Defendant’s proven skin
 26   benefit representations. The Court dismissed these with prejudice as being lack of
      substantiation claims. This or a similar issue regarding proven or level of proof
 27   claims is currently on appeal before the Ninth Circuit in Kwan v. SanMedica Int’l,
      LLC and Engel v. Novex Biotech LLC.
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  1   of $5,000,000 and is a class action in which there are in excess of 100 class
  2   members and Class members are citizens of a state different from Defendant.
  3         5.     This Court has personal jurisdiction over Defendant because
  4   Defendant is authorized to conduct and does conduct business in California.
  5   Defendant has marketed, promoted, distributed, and sold NIVEA CoQ10 Lotion in
  6   California and Defendant has sufficient minimum contacts with this State and/or
  7   sufficiently avails itself of the markets in this State through its promotion, sales,
  8   distribution and marketing within this State to render the exercise of jurisdiction by
  9   this Court permissible.
 10         6.     Venue is proper in this Court pursuant to 28 U.S.C. §§1391(a) and (b)
 11   because a substantial part of the events or omissions giving rise to Plaintiff’s claims
 12   occurred while she resided in this judicial district. Venue is also proper under 18
 13   U.S.C. §1965(a) because Defendant transacts substantial business in this District.
 14                                         PARTIES
 15         7.     Plaintiff Ashley Franz is a citizen of California and resides in San
 16   Diego, California.    In approximately the summer of 2012, Plaintiff purchased
 17   NIVEA CoQ10 Lotion from a CVS store in San Diego, California.                  She paid
 18   approximately $10.00 for the NIVEA CoQ10 Lotion. Had Plaintiff known that
 19   NIVEA CoQ10 Lotion was an illegal and misbranded drug, she would not have
 20   purchased it. As a result, Plaintiff suffered injury in fact and lost money.
 21         8.     Defendant Beiersdorf, Inc. is a Delaware corporation with its principal
 22   place of business in Wilton, Connecticut.             Beiersdorf, Inc. manufactures,
 23   distributes, markets and sells NIVEA CoQ10 Lotion and created the skin firming
 24   representations, which it caused to be disseminated to consumers in California.
 25                               FACTUAL ALLEGATIONS
 26          9.    Defendant’s skin firming representations appear prominently and
 27   conspicuously, and almost exclusively on the front of each bottle as follows:
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               10.   The back panel of each NIVEA CoQ10 Lotion repeats the skin firming
 18
      representations, claiming that the Product is “proven to firm and tighten skin’s
 19
      surface in as little as two weeks”:3
 20

 21

 22

 23

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 27   3
          The former label used during most of the class period is attached as Exhibit A.
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                            SECOND AMENDED CLASS ACTION COMPLAINT
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            11.     An over-the-counter lotion can be a drug, a cosmetic, or a combination
 20
      of both. 21 U.S.C. §359 (the categories of “drug” and “cosmetic” are not mutually
 21
      exclusive).
 22
            12.     The federal Food, Drug, and Cosmetics Act (“FDCA”) (21 U.S.C.
 23
      §§301, et. seq.) defines cosmetics as “articles intended to be rubbed, poured,
 24
      sprinkled, or sprayed on, introduced into, or otherwise applied to the human
 25
      body...for cleansing, beautifying, promoting attractiveness, or altering the
 26
      appearance.” 21 U.S.C. §321(i). NIVEA CoQ10 Lotion is a cosmetic.
 27

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  1         13.    A cosmetic is also a drug if it is “intended to affect the structure or any
  2   function of the body of man”. 21 U.S.C. § 321(g)(1).
  3         14.    California’s Sherman Food, Drug, and Cosmetic Law (“Sherman
  4   FD&C”) (California’s Health & Safety Code §§109875, et. seq.) parallels the
  5   FDCA in material part and adopts all nonprescription drug regulations.
  6         15.    Like the FDCA, the Sherman FD&C defines a drug as “Any article
  7   other than food, that is used or intended to affect the structure or any function of the
  8   body of human beings.” Cal. Health & Safety Code § 109925(c).
  9         16.    The FDA has found that products “intended to affect the structure or
 10   function of the body, such as the skin are drugs . . . even if they affect the
 11   appearance. So, if a product is intended, for example, to remove wrinkles or
 12   increase the skin’s production of collagen, it’s a drug or a medical device.”
 13   Wrinkle     Treatments     and    Other     Anti-aging    Products,     available    at
 14   http://www.fda.gov/Cosmetics/ProductsIngredients/Products/ucm388826.htm;            see
 15   also FDA’s October 5, 2012 Warning Letter to Avon Products, Inc., available at
 16   http://www.fda.gov/ICECI/EnforcementActions/WarningLetters/2012/ucm323738.
 17   htm. By making the skin firming and tightening representations, the NIVEA CoQ10
 18   Lotion is a new drug as defined in 21 U.S.C. § 321(p) and Cal. Health & Safety
 19   Code § 109980(a).
 20         17.    Thus, NIVEA CoQ10 Lotion is both a cosmetic (moisturizer) and a
 21   drug (skin firming and toning) under the FDCA and the parallel Sherman FD&C.
 22         18.    Under the FDCA and California’s Sherman FD&C laws, Defendant
 23   may not sell NIVEA CoQ10 Lotion with the skin firming representations unless it
 24   has an approved New Drug Application (“NDA”). 21 U.S.C. § 355(a); Cal. Health
 25   & Safety Code § 111550. Defendant does not have an approved NDA for NIVEA
 26   CoQ10 Lotion.
 27         19.    By selling NIVEA CoQ10 Lotion without subjecting the Product to the
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  1   FDA NDA process to obtain FDA approval to sell this drug, Defendant has violated
  2   the FDCA and parallel Sherman FD&C.
  3         20.    The NIVEA CoQ10 Lotion label also violates the FDCA and Sherman
  4   FD&C ingredient labeling requirements for drugs. The drug ingredients must be
  5   listed alphabetically as “Active Ingredients,” followed by cosmetic ingredients,
  6   listed in descending order of predominance as “Inactive Ingredients.”         See 21
  7   C.F.R. §201.66. The ingredients found on the back of the Product label are not
  8   listed in the required order.
  9                         CLASS DEFINITION AND ALLEGATIONS
 10         21.    Plaintiff brings this action on behalf of herself and all other similarly
 11   situated California consumers pursuant to Rule 23(a) and (b)(3) of the Federal
 12   Rules of Civil Procedure and seeks certification of the following Class:
 13
            All consumers who, within the applicable statute of limitations period,
 14         purchased NIVEA CoQ10 Lotion in California.
 15         Excluded from this Class are Defendant and its officers, directors and
            employees and those who purchased NIVEA CoQ10 Lotion for the purpose
 16         of resale.
 17         22.    Numerosity. The members of the Class are so numerous that joinder
 18   of all members of the Class is impracticable. Plaintiff is informed and believes that
 19   the proposed Class contains thousands of purchasers of NIVEA CoQ10 Lotion who
 20   have been damaged by Defendant’s conduct as alleged herein. The precise number
 21   of Class members is unknown to Plaintiff.
 22         23.    Existence and Predominance of Common Questions of Law and
 23   Fact. This action involves common questions of law and fact, which predominate
 24   over any questions affecting individual Class members. These common legal and
 25   factual questions include, but are not limited to, the following:
 26                (a)    whether Defendant engaged in the unlawful sale of an illegal
 27         drug in violation of the FDCA and California’s Sherman FD&C laws;
 28
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                           SECOND AMENDED CLASS ACTION COMPLAINT
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  1                (b)     whether the alleged conduct constitutes violations of the UCL;
  2         and
  3                (c)     whether Plaintiff and Class members are entitled to restitution.
  4         24.    Typicality. Plaintiff’s claims are typical of the claims of the members
  5   of the Class because, inter alia, all Class members were injured through the
  6   uniform misconduct described. Plaintiff is advancing the same claim and legal
  7   theories on behalf of herself and all members of the Class.
  8         25.    Adequacy of Representation.          Plaintiff will fairly and adequately
  9   protect the interests of the members of the Class. Plaintiff has retained counsel
 10   experienced in complex consumer class action litigation, and Plaintiff intends to
 11   prosecute this action vigorously. Plaintiff has no adverse or antagonistic interests
 12   to those of the Class.
 13         26.    Superiority. A class action is superior to all other available means for
 14   the fair and efficient adjudication of this controversy.       The damages or other
 15   financial detriment suffered by individual Class members is relatively small
 16   compared to the burden and expense that would be entailed by individual litigation
 17   of their claims against Defendant. It would thus be virtually impossible for Plaintiff
 18   and Class members, on an individual basis, to obtain effective redress for the
 19   wrongs done to them. Furthermore, even if Class members could afford such
 20   individualized litigation, the court system could not.        Individualized litigation
 21   would create the danger of inconsistent or contradictory judgments arising from the
 22   same set of facts.       Individualized litigation would also increase the delay and
 23   expense to all parties and the court system from the issues raised by this action. By
 24   contrast, the class action device provides the benefits of adjudication of these issues
 25   in a single proceeding, economies of scale, and comprehensive supervision by a
 26   single court, and presents no unusual management difficulties under the
 27   circumstances here.
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                            SECOND AMENDED CLASS ACTION COMPLAINT
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  1            27.   Unless a Class is certified, Defendant will retain monies received as a
  2   result of its conduct that were illegally taken from Plaintiff and Class members.
  3                                              COUNT I
                       Violation of Business & Professions Code §17200, et seq.
  4                              Unlawful Business Acts and Practices
  5            28.   Plaintiff repeats and re-alleges the allegations contained in the
  6   paragraphs above, as if fully set forth herein.
  7            29.   Plaintiff brings this claim individually and on behalf of the California
  8   Class.
  9            30.   The Unfair Competition Law, Business & Professions Code §17200, et
 10   seq. (“UCL”), prohibits any “unlawful” business act or practice.
 11            31.   As alleged herein, Defendant engaged in illegal conduct by unlawfully
 12   making skin firming representations about its NIVEA CoQ10 Lotion that resulted
 13   in its being deemed a drug under FDA regulations, but did so without obtaining
 14   required FDA approval through the FDA NDA process. Defendant also failed to
 15   list the NIVEA CoQ10 ingredients in the proper order as required by federal
 16   regulation. Defendant committed unlawful business practices by violating
 17   California’s Sherman Food, Drug and Cosmetic Law, California’s Health & Safety
 18   Code §§ 109875 et seq. and the Food Drug and Cosmetic Act, 21 U.S.C. §§ 301, et
 19   seq. Plaintiff and the California Class reserve the right to allege other violations of
 20   law, which constitute other unlawful business acts or practices. Such conduct is
 21   ongoing and continues to this date.
 22            32.   Plaintiff and the California Class suffered “injury in fact”/economic
 23   loss by spending money on a product that, but for Defendant’s illegal conduct,
 24   would not have been on the market.
 25            33.   The    NDA     process     and     the   FDA    and     Sherman      Act
 26   misbranding/consumer protections are intended to ensure that if the consuming
 27

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                            SECOND AMENDED CLASS ACTION COMPLAINT
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   1   public (e.g., Plaintiff and the Class) are sold a product that is a drug as defined
   2   under the FDA law and regulations, that it will have been put through the rigorous
   3   NDA approval process to ensure that it is safe and effective.
   4            34.    The UCL unlawful prong is intended to hold Defendants who engage
   5   in unlawful conduct accountable for their violations by, among other things, paying
   6   full compensation to consumers who have purchased such illegally sold products.
   7            35.    But for Defendant illegally selling its NIVEA CoQ10 Lotion when it
   8   was an unapproved and misbranded drug and illegally placing it in the market for
   9   sale to the public, Plaintiff and the Class would never have purchased this illegal
  10   Product.       As result of Defendant’s illegal conduct, Plaintiff and the Class have
  11   suffered injury/economic loss and are entitled to a full refund of their purchase
  12   price.
  13            36.    Plaintiff, on behalf of herself, all other similarly situated California
  14   consumers, and the general public, seeks restitution of all money they paid for
  15   Defendant’s illegally sold Product, consistent with Business & Professions Code
  16   §17203.
  17                                   PRAYER FOR RELIEF
  18   Wherefore, Plaintiff prays for a judgment:
  19            A.     Certifying the Class as requested herein;
  20            B.     Awarding restitution and disgorgement of Defendant’s revenues to
  21   Plaintiff and the proposed Class members;
  22            C.     Awarding attorneys’ fees and costs pursuant to Cal. Civ. Proc.
  23                   Code § 1021.5; and
  24            D.     Providing such further relief as may be just and proper.
  25   ///
  26   ///
  27   ///
  28
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                         SECOND AMENDED CLASS ACTION COMPLAINT
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   1
                                 CERTIFICATE OF SERVICE
   2
              I hereby certify that on October 6, 2016, I electronically filed the foregoing
   3
       with the clerk of the court using the CM/ECF system which will send notification
   4
       of such filing to the e-mail address denoted on the electronic Mail Notice List, and I
   5
       hereby certify that I have mailed the foregoing document or paper via the United
   6
       States Postal Service to the non-CM/ECF participants indicated on the Manual
   7
       Notice list.
   8
              I certify under penalty of perjury under the laws of the United States of
   9
       America that the foregoing is true and correct.
  10
              Executed on October 6, 2016 at San Diego, California
  11

  12                                           /s/ Patricia N. Syverson
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                           SECOND AMENDED CLASS ACTION COMPLAINT
